Case 5:19-cv-01855-GW-DFM Document 28 Filed 10/15/20 Page 1 of 1 Page ID #:1486
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                         UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                               EASTERN DIVISION



  RONICKA ANDREA JACKSON,                   Case No. ED CV 19-01855-GW (DFM)

            Plaintiff,                      JUDGMENT

               v.

  COMMISSIONER OF SOCIAL
  SECURITY,

            Defendant.



        IT IS HEREBY ADJUDGED that, for the reasons set forth in the
  Report and Recommendation, the decision of the Commissioner of the Social
  Security Administration is reversed and this action is remanded for further
  proceedings consistent with the Report and Recommendation.



  Date: October 15, 2020                     ___________________________
                                             GEORGE H. WU
                                             United States District Judge
